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 4                               UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                      Plaintiff,             )                Case No. 2:12-cr-00268-JAD-CWH
                                               )
 9   vs.                                       )                ORDER
                                               )
10   PAUL CHOI, et al.,                        )                Motion to Modify Conditions (#58)
                                               )
11                      Defendant.             )
     __________________________________________)
12
13          This matter comes before the Court on Defendant Paul Choi’s (“Defendant”) Motion to
14   Modify Conditions of Pretrial Release (#58), filed on November 1, 2013. Defendant was released
15   on a personal recognizance bond with conditions on December 13, 2012, see Minutes of
16   Proceedings, Doc. #19, and the Court entered the bond on December 19, 2012. See Doc. #23.
17   Therein, the Court imposed a curfew on Defendant to be monitored by GPS. Id. at 3. Defendant
18   moves to remove the “condition requiring GPS monitoring,” and represents that neither pretrial
19   services nor the Government objects. The Court now seeks clarification as to whether pretrial or
20   the Government have any opposition to removing the condition imposing a curfew on Defendant.
21   Accordingly,
22          IT IS HEREBY ORDERED that the parties shall inform the Court whether, by seeking to
23   remove the GPS monitoring condition, Defendant intends to remove the curfew condition, and
24   whether the Government has any opposition to removing the curfew condition, within 7 days of the
25   date of this Order.
26          DATED this 6th day of November, 2013.
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                                                 ______________________________________
28                                               GEORGE FOLEY, JR.
                                                 United States Magistrate Judge
